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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF VERMONT


MARK KEMP,                                           )
                                                     )
       Plaintiff,                                    )       Docket No. 2:21-cv-00103
                                                     )
       v.                                            )
                                                     )
S.B. COLLINS, INC., and                              )
JOLLEY ASSOCIATES, LLC,                              )
d/b/a JOLLEY,                                        )
                                                     )
       Defendants.                                   )

            STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Mark Kemp and Defendants S.B. Collins, Inc. and Jolley Associates, LLC, by

and through their respective counsel, pursuant to F.R.C.P. 41(a), hereby stipulate that all claims

in the above-captioned lawsuit against S.B. Collins, Inc. be dismissed with prejudice and that

S.B. Collins, Inc. be dismissed as a party from the case. Each party shall be responsible for their

own costs and fees.

       This Stipulation may be entered with the Clerk of the Court without further notice.

       Dated at Burlington, Vermont this 6th day of August, 2021.

                                                     MARK KEMP


                                              By:    /s/ Matthew M. Shagam
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                                  S.B. COLLINS, INC. and JOLLEY
                                  ASSOCIATES, LLC, d/b/a JOLLEY


                           By:    /s/ Heather E. Ross
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